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1                                                              The Honorable Ricardo S. Martinez

2

3

4                                UNITED STATES DISTRICT COURT

5                             WESTERN DISTRICT OF WASHINGTON

6                                             AT SEATTLE

7

8    TREVOR KEVIN BAYLIS,                                  Case No. 2:23-cv-01653-RSM

9    			Plaintiff, (pro se).                               DECLARATION OF BAYLIS
                                                           IN SUPPORT OF PLAINTIFF’S
10          v.                                             MOTION TO STRIKE DEFENDANT
                                                           VALVE CORPORATION’S
11   VALVE CORPORATION,                                    NINTH DEFENSE TO
                                                           PLAINTIFF TREVOR KEVIN
12   			Defendant.                                         BAYLIS’ SECOND AMENDED
                                                           COMPLAINT
13

14          I, Trevor Kevin Baylis, declare as follows:

15          1.       I am a professional 3D artist and animator. I represent myself as Plaintiff

16   (“Baylis”) in this matter. I am fifty six years old and have personal knowledge of the facts

17   stated below. I am otherwise competent to testify and, if called upon to testify on the matters

18   herein, would do so consistently with this declaration.

19          2.      Attached hereto as Exhibit A is a true and correct copy of Iron Sky film

20   End Credits showing Trevor Baylis at the top of the list of VFX artists denoting his

21   senior position in the creation and authorship of the film. Baylis was NOT an “intern” or

22   amateur but a professional artist.

23
     DECLARATION OF BAYLIS IN SUPPORT OF PLAINTIFF’S
24
     MOTION TO STRIKE DEFENDANT VALVE CORPORATION’S
     NINTH DEFENSE TO PLAINTIFF TREVOR KEVIN BAYLIS’ SECOND
     AMENDED COMPLAINT
     No. 2:23-cv-01653-RSM
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1           3.       Attached hereto as Exhibit B is a true and correct copy of email

2    exchanges Baylis had with Jonah O. Harrison (and others) attorney at the law firm

3    Arete Law Group PLLC. Who represent Defendant Valve Corporation (“Valve”) in this

4    matter. Wherein, on 29th of March 2024, Baylis offers to demonstrate original Iron Sky

5    animation files to Valve via a shared screen Zoom ‘Meet and Confer’.

6           4.      Attached hereto as Exhibit C is a true and correct copy of a Machine

7    Translation of Tekijänoikeusneuvosto TN 2018:12 as mention by Petri Gunther as an

8    example of 3D animation works that recieve copyright protection in Finland in his

9    Kluwer Copyright Blog: Finnish court rules on copyright in the film ‘Iron Sky’ (see

10   #Dkt. 44, Harrison Decl., Ex. H at p. 2-3 of 13).

11          5.      Attached hereto as Exhibit D is a true and correct copy Baylis’ Trevi Tyger

12   Character Manual mentioned in Tekijänoikeusneuvosto TN 2018:12 page 1 Paragraph 1.

13          I declare under penalty of perjury under the laws of the State of Washington that the

14   foregoing is true and correct.

15          Executed in Tampere, Finland on this 16th day of April, 2024.

16   						

17   						Trevor K Baylis

18

19   						                                       trevor.baylis@gmail.com

20   						                                       +358417225899

21

22

23
     DECLARATION OF BAYLIS IN SUPPORT OF PLAINTIFF’S
24
     MOTION TO STRIKE DEFENDANT VALVE CORPORATION’S
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1

2                                CERTIFICATE OF SERVICE FORM

3                                    FOR ELECTRONIC FILINGS

4         I hereby certify that on 24th April 2024 I electronically filed the foregoing document

5                                 with the United States District Court

6                        Western District of Washington at Seattle by using the

7                CM/ECF system. I certify that the following parties or their counsel of

8                record are registered as ECF Filers and that they will be served by the

9                                           CM/ECF system:

10                              Jeremy E Roller: jroller@aretelaw.com,

11                                       jfischer@aretelaw.com,

12                                     kgreenberg@aretelaw.com

13

14                            Jonah O. Harrison: jharrison@aretelaw.com,

15                                       jfischer@aretelaw.com,

16                                     kgreenberg@aretelaw.com

17

18                                       Dated: 24th April 2024

19

20

21                                        Trevor Kevin Baylis

22                                             Jankanraitti

23                                    Tampere 33560, FINLAND
     DECLARATION OF BAYLIS IN SUPPORT OF PLAINTIFF’S
24
     MOTION TO STRIKE DEFENDANT VALVE CORPORATION’S
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